Case 4:17-cv-00315-ALM Document 1-2 Filed 10/28/16 Page 1 of 10 PageID #: 9




                           EXHIBIT A
Case 4:17-cv-00315-ALM Document 1-2 Filed 10/28/16 Page 2 of 10 PageID #: 10
Case 4:17-cv-00315-ALM Document 1-2 Filed 10/28/16 Page 3 of 10 PageID #: 11
Case 4:17-cv-00315-ALM Document 1-2 Filed 10/28/16 Page 4 of 10 PageID #: 12
Case 4:17-cv-00315-ALM Document 1-2 Filed 10/28/16 Page 5 of 10 PageID #: 13
Case 4:17-cv-00315-ALM Document 1-2 Filed 10/28/16 Page 6 of 10 PageID #: 14
Case 4:17-cv-00315-ALM Document 1-2 Filed 10/28/16 Page 7 of 10 PageID #: 15
Case 4:17-cv-00315-ALM Document 1-2 Filed 10/28/16 Page 8 of 10 PageID #: 16
Case 4:17-cv-00315-ALM Document 1-2 Filed 10/28/16 Page 9 of 10 PageID #: 17
Case 4:17-cv-00315-ALM Document 1-2 Filed 10/28/16 Page 10 of 10 PageID #: 18
